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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW MEXICO

 TRAVELERS CASUALTY INSURANCE                       §
 COMPANY OF AMERICA,                                §
                                                    §
         Plaintiff,                                 §
                                                    §
 v.                                                 §         CIVIL ACTION NO.
                                                    §         2:24-CV-00027-MV-DLM
 NEW MEXICO BONE AND JOINT                          §
 INSTITUTE, P.C., AMERICAN                          §
 FOUNDATION OF LOWER EXTREMITY                      §
 SURGERY AND RESEARCH, INC.,                        §
 RILEY RAMPTON, DPM, LOREN K.                       §
 SPENCER, DPM, TERVON DORSEY,                       §
 INDIVIDUALLY, KIMBERLY DORSEY,                     §
 INDIVIDUALLY, AND KATE FERLIC,                     §
 AS GUARDIAN AD LITEM FOR K.D.                      §
 AND J.D., MINORS,                                  §
                                                    §
         Defendants.                                §


    DEFENDANTS/COUNTER-PLAINTIFFS NEW MEXICO BONE AND JOINT
 INSTITUTE, P.C.’S, RILEY RAMPTON, DPM’S, AND LOREN K. SPENCER, DPM’S
     REPLY IN SUPPORT OF COUNTER-MOTION FOR JUDGMENT ON THE
                               PLEADINGS


        Defendants/Counter-Plaintiffs New Mexico Bone and Joint Institute, P.C. (“NMBJI”),

Riley Rampton, DPM (“Dr. Rampton”), and Loren K. Spencer, DPM (“Dr. Spencer”)

(collectively, “the NMBJI Defendants”) hereby file this Reply in support of their Counter-Motion

for Judgment on the Pleadings, and respectfully state as follows:

                                               I.
                                         INTRODUCTION

        Travelers’s Reply in Support of its Motion and Response to the NMBJI Defendants’

Motion (“Travelers’s Response”) uses broad conclusory statements and self-serving summaries of

the claims and allegations asserted in the Dorsey Lawsuit to attempt to escape the unavoidable fact


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established in the Counter-Motion: the Dorsey Lawsuit contains allegations that fall outside the

scope of the Policy’s Health Care Services Exclusion. While Travelers contends that all the claims

and allegations in the Dorsey Lawsuit are “actually medical negligence claims,” 1 it does not

address (and almost completely ignores) the specific allegations in the Dorsey Lawsuit that trigger

coverage. As set forth in the Counter-Motion, there are numerous allegations and claims in the

Dorsey Lawsuit that allege conduct that is not based on the medical competence of professionals. 2

These allegations relate to the business and financial relationships of the NMBJI Defendants.

Whether or not such a business scheme existed, the financial relationships between the defendants,

and the information provided or not provided related to such relationships do not involve the use

of or failure to use professional knowledge, skill, experience, or training.

         Travelers also does not dispute the case law establishing that UTPA claims by their very

nature cannot be based on medical competence. Grassie v. Roswell Hosp. Corp., 2011-NMCA-

024, ¶ 87, 150 N.M. 283, 258 P.3d 1075, 1096 (“unfair practice statutes only apply to the

entrepreneurial, commercial, or business aspect of a physician’s practice, including advertising,

solicitation of business, and billing practices.”) Instead, Travelers appears to focus on the analysis

in Grassie discussing that certain types of conduct of professionals may constitute medical

competence that fall outside the scope of UTPA claims (i.e., the court was analyzing what conduct

falls within and outside the scope of UTPA claims in a non-insurance case). Travelers essentially

argues that all the UTPA claims asserted in the Dorsey Lawsuit rely on the actual competence of

a medical practitioner and therefore are not proper claims under the statute. But this goes to the

merits of the underlying claim, which is irrelevant to determining the duty to defend. There is no



1
    See Docket No. No. 33, Travelers’s Response at p. 8.
2
    See Docket No. 25, NBMJI Defendants’ Counter-Motion at p. 15-16.



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dispute that the Dorsey Plaintiffs asserted a UTPA claim. The existence of an alleged UTPA claim,

which must be based on conduct separate from medical competence to be successful (as the

Grassie case holds), triggers coverage in this case.

        Appearing to realize that its reliance on the professional services exclusion is flawed,

Travelers makes the fallback argument that the Policy’s expected and intended injury exclusion

precludes coverage for the covered claims in the Dorsey Lawsuit. As a threshold matter, Travelers

based its Motion solely on the professional services exclusion and cannot now seek to have its

Motion granted based on a different exclusion. In any event, the expected and intentional injury

exclusion does not preclude Travelers’s duty to defend the NMBJI Defendants in the Dorsey

Lawsuit.

        The express wording of the expected or intended injury exclusion and applicable New

Mexico case law establish that this exclusion only applies when the insured intended or expected

the actual injury. Thus, even where certain conduct was intentional, the analysis must be focused

on whether the specific injury directly flowing from the conduct was intentional or expected.

Importantly, Travelers admits that some of the claims asserted in the Dorsey Lawsuit can be based

on establishing negligent misrepresentations or other conduct that is not intentional in nature. Thus,

Travelers establishes that certain claims alleged in the Dorsey Lawsuit are based on conduct that

potentially falls outside the scope of the exclusion, which establishes coverage under New Mexico

law. Even as it relates to certain administrative and business conduct that the Dorsey Plaintiffs

allege was intentional, Travelers completely ignores that the Dorsey Plaintiffs do not allege that

NMBJI Defendants intended or expected to cause injuries to Mr. Dorsey (nor were such injuries

expected or intended by the insureds). The exclusion therefore does not preclude coverage for

Travelers’s defense obligation.




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                                          II.
                             REPLY ARGUMENT AND AUTHORITIES

    A. Travelers Incorrectly Concludes that all the Claims and Allegations in the Dorsey
       Lawsuit are Medical Negligence Claims.

           In its Response, Travelers appears to acknowledge that the Professional Health Care

Services Exclusion only applies to medical malpractice claims where the proof of “alleged injury

requires evidence concerning the competence of a medical practitioner.” 3 To attempt to fit all the

allegations in the Dorsey Lawsuit within the exclusion, Travelers argues that all the claims in the

Dorsey Lawsuit “are actually medical negligence claims.” 4 This argument is misplaced for two

main reasons.

           First, Travelers ignores the numerous allegations in the Dorsey Lawsuit that do not allege

medical negligence claims. As pointed out by the NMBJI Defendants in their Motion, there are

specific allegations in the Dorsey Lawsuit that relate to alleged administrative acts, business

decisions, and other acts that were not necessary for a medical professional to use his specialized

knowledge or training. 5 Tellingly, Travelers failed to address each of these allegations, but instead

it attempts to dismiss these allegations by improperly classifying them as “medical negligence

claims.” The self-serving, wholesale classification of these allegations as malpractice claims

ignores that these claims are based on the alleged improper business scheme of the NMBJI

Defendants (along with AFLESRI) and failure to disclose the financial relationships between the

parties.

           Travelers’s classification of these claims as medical negligence claims further ignores that

the elements necessary to prove the claims for UTPA violations do not depend on the quality of


3
    See Docket No. No. 33, Travelers’s Response at p. 5.
4
    See Docket No. No. 33, Travelers’s Response at p. 9.
5
    See Docket No. 25, NBMJI Defendants’ Counter-Motion at pp. 15-16.



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medical care. Instead, these allegations create standalone claims for the Dorseys unrelated to the

actual medical care provided, including under Section 57-12-2(d)3) of the New Mexico Unfair

Practices Act. The UTPA “is designed to provide a remedy against misleading identification and

false or deceptive advertising.” Grassie 258 P.3d at 1094. The Dorseys base the alleged violation

of Section 57-12-2(d)3 on the NMBJI Defendants causing confusion and misunderstanding as to

their affiliation, connection and association with each other—not medical care. 6

         Second, Travelers does not contest the clear case law establishing that UTPA claims cannot

be based on the medical competence of the doctors and nurses. Specifically, Travelers does not

dispute that courts in New Mexico and other jurisdictions have found that claims under unfair

practices acts do not include medical negligence and malpractice claims, but instead only provide

a remedy for the commercial or entrepreneurial aspects of a doctor’s practice. Grassie, 258 P.3d

at 1096 (“Thus, the [UTPA] issues are separate enough from the questions of the actual medical

competence of the doctors and nurses to allow the [UTPA] claims to proceed.”).

         Realizing that the Court’s analysis in Grassie is fatal to its argument that all the claims in

the Dorsey Lawsuit are medical negligence claims, Travelers cites Grassie to argue that the UTPA

claims in the Dorsey Lawsuit lack merit because the conduct alleged related to administrative

claims are inextricably tied to the medical negligence claims. The language from Grassie that

Travelers cites in its Response relates to the court’s analysis in Grassie regarding whether the

allegations fell within or outside the scope of a UTPA claim: 7

         “Accordingly, the Court concluded that to determine whether a UPA claim could
         lie against a medical provider depended ‘on whether the medical negligence and
         UPA claims are coterminous or indistinguishable; that is whether they rely on the
         same facts and rely on a judgment as to the actual competence of the medical


6
    See Docket No. 1, Travelers’s Complaint for Declaratory Relief, Exhibit B, the Dorsey Lawsuit at ¶ 97.
7
    See Docket No. No. 33, Travelers’s Response at p. 12.



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        practitioner for resolution. If they do, a UPA claim is not appropriate.’ Id. at 1095-
        96.”

        In Grassie, the court was analyzing the merits of whether a UTPA claim could be asserted

against a medical provider in a non-insurance case. Grassie, 258 P.3d at 1096 (“Resolution of the

question whether the advertising materials were materially misleading does not rely on the actions

of the medical personnel on the day Mr. Grassie died. Thus, the UPA issues are separate enough

from the questions of the actual medical competence of the doctors and nurses to allow the UPA

claims to proceed.”). Here, there is no dispute that the Dorsey Plaintiffs have asserted a UTPA

claim in the Dorsey Lawsuit. For the Dorsey Plaintiffs to prevail on this claim, they must establish

conduct that does not relate to the professional competence of medical providers. This fact alone

establishes coverage for the duty to defend in this case. Travelers’s argument as to whether the

Dorsey Plaintiffs’ UTPA claims have merit or not is irrelevant for the coverage analysis. Dove v.

State Farm Fire & Cas. Co., 399 P.3d 400, 404 (N.M. Ct. App. 2017) (“If the allegations of the

complaint or the alleged facts tend to show that an occurrence comes within the coverage of the

policy, the insurer has a duty to defend regardless of the ultimate liability of the insured.”)

(emphasis added). Thus, the presence of this alleged claim defeats Travelers’s argument that the

Policy’s Health Care Services Exclusion precludes coverage for all the claims asserted in the

Dorsey Lawsuit.

    B. Travelers Cannot Rely on the Policy’s Expected and Intended Injury Exclusion to
       Preclude Coverage.

        Apparently concluding that its arguments related to the Professional Health Care Services

are flawed, Travelers contends that the Policy’s expected and intended injury exclusion precludes

coverage for any remaining covered claims. As a threshold matter, Travelers cannot rely on this

exclusion in support of its own motion for judgment on the pleadings because it was not raised in

its initial motion (while Travelers referenced the exclusion in its complaint, it did not rely on the


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exclusion in its motion). Gonzales v. New Mexico Dep't of Health, No. 1:22-CV-00525-WJ-SCY,

2023 WL 2601500, at *8 n. 3 (D.N.M. Mar. 22, 2023) (“Defendants also raises for the first time

in their Reply Brief the question of whether Mr. Gonzales’s WPA claim may be pre-empted by

the FMLA. Doc. 14 at 8 n.1. The Court will not address arguments raised for the first time and

only briefly in Reply.”) (citing In re: Motor Fuel Temperature Sales Pracs. Litig., 872 F.3d 1094,

1113 (10th Cir. 2017) (“[A]rguments raised for the first time in a reply brief are waived.”)); Reedy

v. Werholtz, 660 F.3d 1270, 1274 (10th Cir. 2011) (“[T]he general rule in this circuit is that a party

waives issues and arguments raised for the first time in a reply brief.”).

        Even if the Court considers the merits of this argument for purposes of Travelers’s

Response to the NMBJI Defendants Counter-Motion, Travelers’s reliance on the exclusion is

misplaced because Travelers: (a) ignores the clear wording of the exclusion and how courts

applying New Mexico law have interpreted the scope of similar such exclusions, and (b) concedes

that certain claims asserted in the Dorsey Lawsuit can be based on negligent conduct that is not

intentional, which is fatal to Travelers’s reliance on the exclusion.

        As a threshold matter, Travelers ignores that the exclusion states it only applies to “bodily

injury or property damage expected or intended from the standpoint of the insured.” Thus, by its

own clear language, the exclusion applies only if the injury itself was intentional. Courts applying

New Mexico law have likewise adopted the majority approach wherein an “insured’s act is not

accidental only if the insured ‘intended both the act and to cause some kind of injury or

damage.’” Mid-Continent Cas. Co. v. Circle S Feed Store, LLC, 754 F.3d 1175, 1181 (10th Cir.

2014) (emphasis added) (holding that, under New Mexico law, subsidence and damages that

mining company’s negligence caused to neighboring property as a result of its solution mining

activities did not fall within the scope of a CGL policy’s intentional injury exclusion). Thus, if the




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event causing the injury is intended, there is still an occurrence that falls outside the scope of the

exclusion if the party committing the act did not intend to cause the injury (i.e., the injury did not

flow directly and immediately from its intentional act). Scott v. New Empire Ins. Co., 75 N.M. 81,

400 P.2d 953-956 (1965) (holding that the insured was entitled to coverage where the decedent’s

acts of driving the car and exceeding the speed limit were presumably intentional but the fatal

collision was unintended) 8; see also Proassurance Specialty Ins. Co., Inc. v. Familyworks, Inc.,

599 F. Supp. 3d 1082, 1094–95 (D.N.M. 2022) (“The Court concludes that the underlying

complaints against Familyworks allege an ‘occurrence’ within the meaning of the policies.

Although the state court plaintiffs allege that Familyworks intentionally placed the children with

the Garcias, none allege that Familyworks intended the resulting sexual abuse.”).

         Here, Travelers admits that there are certain claims and allegations asserted in the Dorsey

Lawsuit where the underlying Dorsey Plaintiffs would not have to show that either the conduct or

resulting injury was intended or expected by the NMBJI Defendants (or that it is not clear from

the pleading what conduct formed the basis of the claim): 9

         •   “To prove a claim of civil conspiracy, the Dorsey will have to show a conspiracy
             between two or more individuals, that wrongful acts were done for the purposes of the
             conspiracy and that the plaintiff was damaged as a result. Bauer v. College of Santa Fe,
             2003-NMCA-121, ¶ 16, 134 N.M. 439, 78 P.3d 76, 80 (citation omitted). Although the
             Dorseys do not identify which tort they tie to their civil conspiracy claim, the
             allegations suggest that it is what they call ‘fraudulent concealment’ or fraud. See Doc.
             1-2 ¶¶ 83-84 . . . . The Dorseys fraud claims could fall into one of two categories,
             intentional fraud or negligent misrepresentation.”




8
     The court found that the plaintiff's decedent was entitled to coverage for “accidental death” even though he was
driving at a high rate of speed before the fatal collision. Although the decedent received a traffic ticket for speeding
on the same night and his passenger complained about the speed of his driving, the court found no evidence that the
result—i.e., his death—was “voluntarily self-inflicted.” In other words, although the decedent’s acts of driving the car
and exceeding the speed limit were presumably intentional, he was nevertheless entitled to coverage because the result,
i.e., the fatal collision, was unintended.
9
    See Docket No. No. 33, Travelers’s Response at p. 14, 16.



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        •   “For similar reasons, this exclusion also precludes the UPA claims. . . . . In the
            underlying proceeding, the Dorseys do not identify a specific statement that
            precipitated this claim.”

        These admissions as to what is alleged in the Dorsey Lawsuit defeat Travelers’s reliance

on the expected or intended injury exclusion because, at a minimum, it is not clear whether the

resulting injury was expected or intentional. While Travelers attempts to argue that the allegations

suggest a potentially intentional or expected intent, this inference and interpretation against the

finding of a duty to defend is explicitly prohibited under New Mexico law. New Mexico courts

have held that an insurer must defend “when the complaint filed by the claimant alleges facts

potentially within the coverage of the policy.” Proassurance, 599 F. Supp. 3d at 1094–95 (holding

that the claims and their allegations do not “clearly fall outside the provisions” of the policy); see

also N.M. Physicians Mut. Liab. Co. v. LaMure, 116 N.M. 92, 860 P.2d 734, 737 (1993); Am. Gen.

Fire & Casualty Co. v. Progressive Casualty Co., 110 N.M. 741, 799 P.2d 1113, 1116 (1990)

(“The duty of an insurer to defend arises from the allegations on the face of the complaint . . . that

brings it arguably within the scope of coverage.” (emphasis added)); Dove, 399 P.3d at 404.

        Likewise, there is a duty to defend when the facts in the complaint “are not stated with

sufficient clarity so that it can be determined from the face of the complaint whether the action

falls within the coverage of the policy.” Dove, 399 P.3d at 404. “Any doubt about whether the

allegations are within policy coverage is resolved in the insured’s favor.” Id. at 405. Travelers

cannot interpret the claims and allegations in its favor to bring the allegations within the scope of

the exclusion.

        As it relates to other alleged administrative or business activities, Travelers focuses on the

fact that the Dorsey Plaintiffs allege these administrative and business activities were intentional.

But Travelers completely ignores that there is no allegation for each of these acts that the NMBJI




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Defendants expected or intended to cause bodily injury to Dorsey. Thus, even if the NMBJI

Defendants expected or intended to fail to disclose their business relationships or other information

about financial incentives, there are no allegations or anything to suggest that they intended to

cause bodily injury to Dorsey. The Dorsey Plaintiffs do not allege that the defendants intended or

expected to injure Dorsey. It takes a giant leap to conclude the insureds would know that

committing the alleged acts related to not disclosing financial or business information as part of

any advertising effort would result in bodily injury to someone. Mid-Continent Cas. Co., 754 F.3d

1175, 1182 (“No evidence in the record suggests I & W knew that damages to Circle S's property

‘would flow directly and immediately from its intentional act.’”); Sena v. Travelers Ins. Co., 801

F. Supp. 471, 476 (D.N.M.1992) (holding the injury must be the “direct, natural result” of an

“inherently harmful” act for a court to find the injury outside the scope of coverage); Eric Mills

Holmes, Appleman on Insurance 2d (archive file) § 117.4 (“For purposes of determining whether

recovery can be had under an ‘accident’ provision of a liability policy, the resulting damage can

be unintentional and therefore accidental even though the original acts were intentional.”)(cited by

the court in Mid-Continent).

        Travelers concludes that because the intended act resulted in Dorsey agreeing to come to

the clinic, the insureds intended or expected the injury (the alleged harm, however, is bodily

injury). There is no allegation that the insureds intended or expected to injure Dorsey. Travelers’s

conclusion is inconsistent with the case law discussed above. At a minimum, there is lack of clarity

or specificity regarding whether the injury was expected or intended by the insureds, which creates

a duty to defend. Dove, 399 P.3d at 404 (“Any doubt about whether the allegations are within

policy coverage is resolved in the insured’s favor.”).




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                                                III.
                                              PRAYER

        WHEREFORE, the NMBJI Defendants ask the Court to grant their Counter-Motion for

Judgment on the Pleadings, deny Plaintiff’s Motion for Judgment on the Pleadings, and for all

such relief to which the NMBJI Defendants are entitled to, at law or in equity.




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Date: May 1, 2024.                                  Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that the foregoing instrument was served on the counsel

of record in accordance with the Federal Rules of Civil Procedure on May 1, 2024.

                                                    /s/ Noah H. Nadler
                                                    Noah H. Nadler



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